 Case 2:18-cv-00216-JRG Document 12 Filed 07/30/18 Page 1 of 1 PageID #: 203



                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

Relativity Display LLC,                              CASE NO. 2:18-cv-00216-JRG

               Plaintiff

       v.

Office Depot, Inc.,

                       Defendant.



                                            ORDER

       Before the Court is Plaintiff Relativity Display LLC and Defendant Office Depot,

Inc.’s Joint Motion to Stay All Deadlines and Notice of Settlement (Dkt. No. 11). Having

considered the Joint Motion, the Court finds that the Motion should be and hereby is

GRANTED. It is ORDERED that all unreached case deadlines applicable between Plaintiff

Relativity Display LLC and Defendant Office Depot, Inc. are stayed for thirty (30) days from

the date of this Order, in order for the Parties to finalize the settlement agreement and submit

appropriate dismissal papers

        So Ordered this
        Jul 30, 2018
